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 PROB 12C                                                                            Report Date: October 27, 2021
(6/16)

                                       United States District Court                          FILED IN THE
                                                                                         U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                    Oct 27, 2021
                                        Eastern District of Washington                  SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joshua Johnathan Lund                    Case Number: 0980 2:18CR00138-TOR-3
 Address of Offender:                                Spokane, Washington 99218
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: May 22, 2019
 Original Offense:        Unlawful User of a Controlled Substance in Possession of Firearms, 18 U.S.C. §§
                          922(g)(3), 924(a)(2); Possession of Stolen Firearms 18 U.S.C. §§ 922(j), 924(a)(2)
 Original Sentence:       Prison - 366 days                 Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Timothy J. Ohms                   Date Supervision Commenced: February 25, 2020
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: February 24, 2023


                                         PETITIONING THE COURT

To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Mandatory Condition # 2: You must not unlawfully possess a controlled substance. You
                        must refrain from any unlawful use of a controlled substance, including marijuana, which
                        remains illegal under federal law.

                        Supporting Evidence: It is alleged that Mr. Lund is in violation of his conditions of
                        supervised release, by consuming marijuana between October 13 and 17, 2021.

                        On February 25, 2020, Mr. Lund reviewed and signed his judgment, acknowledging an
                        understanding of his conditions of supervision.

                        On October 20, 2021, the undersigned officer conducted a home visit at Mr. Lund’s
                        residence. A urine sample was requested and collected from Mr. Lund. The sample was
                        presumptive positive for marijuana. Prior to collecting the urine sample, Mr. Lund disclosed
                        he had been consuming marijuana over the past couple of days and signed a drug use
                        admission form acknowledging his use of marijuana between October 13 and 17, 2021.
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          2           Standard Condition #5: You must live at a place approved by the probation officer. If you
                      plan to change where you live or anything about your living arrangements (such as the
                      people you live with), you must notify the probation officer at least 10 calendar days before
                      the change. If notifying the probation officer in advance is not possible due to unanticipated
                      circumstances, you must notify the probation officer within 72 hours of becoming aware of
                      a change or expected change.

                      Supporting Evidence: It is alleged that Mr. Lund violated his conditions of supervised
                      release by failing to notify the undersigned officer of a change in residency, since
                      approximately September 6, 2021.

                      On February 25, 2020, Mr. Lund reviewed and signed his judgment, acknowledging an
                      understanding of his conditions of supervision

                      On October 20, 2021, the undersigned was going to conduct a home visit at Mr. Lund’s
                      address of record. A text message was sent to Mr. Lund asking when he would arrive home
                      from work. Mr. Lund disclosed a new address to the undersigned officer. When confronted,
                      he disclosed he changed his residence on or around September 6, 2021, and the undersigned
                      officer was not notified accordingly.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear to
answer to the allegation(s) contained in this petition.

                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      10/27/2021
                                                                             s/Corey M. McCain
                                                                             Corey M. McCain
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other
                                                                             Thomas O. Rice
                                                                             United States District Judge
                                                                             October 27, 2021
                                                                             Date
